-   -   '•   Case 1:14-cv-01573-RGA Document 224 Filed 09/20/17 Page 1 of 2 PageID #: 10154




                                      IN THE UNITED STATES DISTRICT COURT
                                         FOR THE DISTRICT OF DELAWARE

               RECKITT BENCKISER
               PHARMACEUTICALS INC., and
               MONOSOL RX, LLC,

                              Plaintiffs,                              C.A. No. 14-1573-RGA

               ;AR PHARMACEUTICAL, Ile. and
               INTELGENX TECHNOLOGIES CORP.,

                              Defendants.


                                             ~FINAL JUDGMENT

                      This matter having come before the Court for trial on the merits of all remaining issues in

               the above-captioned cases, namely to resolve the questions of whether Defendants Par

               Pharmaceutical, Inc. and IntelGenx Technologies Corporation (collectively, "Par") infringe any

               claim of U.S. Patent No. 8,900,497 ("the '497 Patent"); and whether those claims are invalid;

               and at trial, Plaintiffs asserted only Claim 24 of the '497 Patent against Par, and Par asserted a

               counterclaim of invalidity and non-infringement of Claim 24 of the '497 Patent; and the Court

               having heard the testimony of the expert witnesses and having considered the evidence submitted

               by the parties; and the Court having reviewed the post-trial briefs of the parties;

                      IT IS ORDERED AND ADJUDGED, for the reasons set forth in the Court's Trial

               Opinion dated August 31, 2017 (D.1. 222), that Final Judgment is hereby entered in favor of Par

               and against Reckitt Benckiser Pharmaceuticals Inc. (now known as Indivior Inc.) and MonoSol

               Rx, LLC (collectively "Plaintiffs"), that Par's Abbreviated New Drug Application ("ANDA")

               No. 205854 for 2 mg/0.5 mg, 4 mg/1 mg, 8 mg/2 mg, and 12 mg/3 mg dosage strengths, and the
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  commercial manufacturing process described therein, does not infringe asserted Claim 24 of the

  '497 Patent;

          ORDERED AND ADJUDGED, for the reasons set forth in the Court's Trial Opinion
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  dated August 31, 2017 (D.I. 222), that Final Judgment is hereby entered in favor of Plaintiffs and

  against Par, that asserted Claim 24 of the '497 Patent was not shown to be invalid;

          ORDERED that, in the event that any party appeals this Final Judgment, any motion for

  attorneys' fees and/or costs under Fed. R. Civ. P. 54(d) and/or Local Rules 54.1 and/or 54.3,

  including any motion that this case is exceptional under 35 U.S.C. § 285, shall be considered

  timely if filed and served within thirty (30) days after final disposition of any such appeal; and it

  is further

          ORDERED that, in the event that no party appeals this Final Judgment, any motion for

  attorneys' fees and/or costs under Fed. R. Civ. P. 54(d) and/or Local Rules 54.1 and/or 54.3,

  including any motion that this case is exceptional under 35 U.S.C. § 285, shall be considered

  timely if filed and served within thirty (30) days after the expiration of the time for filing a notice
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  of appeal under Federal Rules of Appellate Procedure 3 and 4.



  Dated: September   2i1 , 2017
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                                                 UNITED STATS DISTRICT JUDGE




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